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8                     IN THE UNITED STATES DISTRICT COURT

9                   FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA           ) CR. NO. S-05-0034-LKK
12                                      )
                     Plaintiff,         )
               v.                       ) ORDER SETTING STATUS DATE
13
                                        ) AND EXCLUDING TIME
     LINDA CHANEY,                      )
14   JAY McCASTLE,                      )
     DAVID TALCOTT USSERY, and          )
15   ROBERT ROBINSON,                   )
16                                      )
                     Defendants.
                                        )
17

18        Based upon request of the parties and representations made in

19   open court on June 7, 2005, IT IS HEREBY ORDERED:

20        This matter is set over for status hearing on July 26, 2005;

21        The Court finds that the matter is complex and that the

22   defendant's counsel, in particular defendant Ussery's counsel who

23   only recently entered the case, reasonably require additional time

24   to review discovery with their clients and to conduct investigation

25   for effective preparation on behalf of their clients.

26        The Court further finds that the ends of justice served by

27   granting the defendant's counsel time to diligently prepare outweigh
           Case 2:05-cr-00034-KJM Document 39 Filed 06/09/05 Page 2 of 2


1    the best interest of the defendant and the public in a speedy trial.

2         Accordingly, the Court orders that time shall be excluded until

3    July 26, 2005, under the Speedy Trial Act,        18 U.S.C. §

4    3161(h)(8)(ii) (T-2 / complexity) and 18 U.S.C. § 3161(h)(8)(iv) (T-

5    4 / preparation of counsel).

6    Dated: June   9, 2005                  /s/Lawrence K. Karlton
                                            HON. LAWRENCE K. KARLTON
7                                           UNITED STATES DISTRICT JUDGE
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